               Case 15-11880-BLS              Doc 340-1        Filed 10/22/15        Page 1 of 4




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

---------------------------------x
                                    :                         Chapter 11
In re:                              :
                                    :                         Case No. 15-11880 (BLS)
QUIKSILVER, INC., et al.,           :
                                    :                         Jointly Administered
                          Debtors.1 :
                                    :
                                    :                         Hrg. Date: Nov. 17, 2015 at 10:30 a.m. (Eastern)
                                                              Obj. Due: Nov. 10, 2015 at 4:00 p.m. (Eastern)
---------------------------------x

      NOTICE OF DEBTORS’ MOTION FOR ENTRY OF ORDER APPROVING
        STIPULATION MODIFYING AUTOMATIC STAY TO ALLOW FOR
    ADVANCEMENT/PAYMENT OF COSTS AND FEES UNDER DIRECTORS AND
                     OFFICERS INSURANCE POLICY

                 PLEASE TAKE NOTICE that the debtors and debtors-in-possession in the above-

captioned jointly administered bankruptcy cases (collectively, the “Debtors”) filed the Debtors’

Motion For Entry Of Order Approving Stipulation Modifying Automatic Stay To Allow For

Advancement/Payment Of Costs And Fees Under Directors And Officers Insurance Policy (the

“Motion”).

                 PLEASE TAKE FURTHER NOTICE that objections, if any, to the Motion or the

relief requested therein must be made in writing, filed with the Bankruptcy Court (as defined

below), and served so as to be received by the following parties no later than November 10,

2015 at 4:00 p.m. (Eastern):




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    The Debtors and the last four digits of their respective taxpayer identification numbers are as follows:
    Quiksilver, Inc. (9426), QS Wholesale, Inc. (8795), DC Direct, Inc. (8364), DC Shoes, Inc. (0965), Fidra, Inc.
    (8945), Hawk Designs, Inc. (1121), Mt. Waimea, Inc. (5846), Q.S. Optics, Inc. (2493), QS Retail, Inc. (0505),
    Quiksilver Entertainment, Inc. (9667), and Quiksilver Wetsuits, Inc. (9599). The address of the Debtors’
    corporate headquarters is 5600 Argosy Circle, Huntington Beach, California 92649.
             Case 15-11880-BLS          Doc 340-1      Filed 10/22/15     Page 2 of 4




              (i) counsel to the Debtors, Skadden, Arps, Slate, Meagher & Flom LLP, 300
South Grand Avenue, Suite 3400, Los Angeles, California 90071, Attn: Van C. Durrer, II, Esq.
(Van.Durrer@skadden.com), and 155 North Wacker Drive, Chicago, Illinois 60606, Attn: John
K. Lyons, Esq. (John.Lyons@skadden.com);

                (ii) counsel to the agent for the Debtors’ postpetition secured term loan facility,
Kirkland & Ellis LLP, 300 North LaSalle, Chicago, Illinois 60654, Attn: Patrick J. Nash, Jr.
(patrick.nash@kirkland.com), and Morris Nichols Arsht & Tunnell LLP, 1201 North Market
Street, 16th Floor, P.O. Box 1347, Wilmington, Delaware 19899-1347, Attn: Robert J. Dehney,
Esq. (rdehney@mnat.com);

               (iii) counsel to the agent for the Debtors’ prepetition and postpetition secured
revolving loan facilities, Reimer & Braunstein LLP, Three Center Plaza, Boston, Massachusetts
02108, Attn: David S. Berman, Esq. (dberman@riemerlaw.com), and Times Square Tower,
Seven Times Square, Suite 2506, New York, New York 10036, Steven E. Fox, Esq.
(sfox@riemerlaw.com), and Womble Carlyle Sandridge & Rice, LLP, 222 Delaware Avenue,
Suite 1501, Wilmington, Delaware 19801, Attn: Steven K. Kortanek, Esq.
(skortanek@wcsr.com);

              (iv) counsel to the indenture trustee for the Debtors’ prepetition senior secured
notes, Seward & Kissel LLP, One Battery Park Plaza, New York, New York 10004, Attn: John
R. Ashmead, Esq. (ashmead@sewkis.com);

               (v) counsel to the indenture trustee for the Debtors’ prepetition senior unsecured
notes, Foley & Lardner, LLP, 321 N. Clark Street, Suite 2800, Chicago, Illinois 60654, Attn:
Mark L. Prager, Esq. (mprager@foley.com) and U.S. Bank National Association, Global
Corporate Trust Services, 100 Wall Street, New York, New York 10005, Attn: Justin L. Shearer,
Vice President (justin.shearer@usbank.com);

             (vi) proposed counsel to the Official Committee of Unsecured Creditors, Akin
Gump Strauss Hauer & Feld LLP, One Bryant Park, Bank of America Tower, New York, New
York 10036-6745, Attn: Michael S. Stamer, Esq. (mstamer@akingump.com) and Pepper
Hamilton LLP, Hercules Plaza, Suite 5100, 1313 N. Market Street, Wilmington, Delaware
19899-1709, Attn: David B. Stratton, Esq. (strattod@pepperlaw.com); and

                (vii) the Office of the United States Trustee for the District of Delaware, 844 King
Street, Suite 2207, Lockbox 35, Wilmington, Delaware 19801, Attn: Mark S. Kenney, Esq. (fax:
(302) 573-6497)).




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            Case 15-11880-BLS        Doc 340-1     Filed 10/22/15    Page 3 of 4




              PLEASE TAKE FURTHER NOTICE that the hearing on the Motion (the

“Hearing”) will be held on November 17, 2015 at 10:00 a.m. (Eastern) before the Honorable

Brendan L. Shannon, Chief United States Bankruptcy Judge for the District of Delaware, in the

United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”), 6th Floor,

Courtroom 1, 824 Market Street, Wilmington, Delaware 19801.




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                                               3
               Case 15-11880-BLS    Doc 340-1    Filed 10/22/15    Page 4 of 4




                 PLEASE TAKE FURTHER NOTICE THAT IF NO OBJECTIONS TO

THE MOTION ARE TIMELY FILED AND RECEIVED IN ACCORDANCE WITH THE

ABOVE PROCEDURES, THE RELIEF REQUESTED IN THE MOTION MAY BE

GRANTED WITHOUT FURTHER NOTICE OR HEARING.

Dated:     Wilmington, Delaware
           October 22, 2015

                                   SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP

                                   /s/ Van C. Durrer, II
                                   Van C. Durrer, II (I.D. No. 3827)
                                   Annie Li
                                   300 South Grand Avenue, Suite 3400
                                   Los Angeles, California 90071
                                   Telephone: (213) 687-5000
                                   Fax: (213) 687-5600

                                   - and -

                                   Mark S. Chehi, Esq. (I.D. No. 2855)
                                   Dain A. De Souza (I.D. No. 5737)
                                   One Rodney Square
                                   P.O. Box 636
                                   Wilmington, Delaware 19899-0636
                                   Telephone: (302) 651-3000
                                   Fax: (302) 651-3001

                                   - and -

                                   John K. Lyons
                                   Jessica Kumar
                                   155 N. Wacker Dr.
                                   Chicago, Illinois 60606
                                   Telephone: (312) 407-0700
                                   Fax: (312) 407-0411

                                   Counsel for Debtors and Debtors in Possession




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